Case 21-30589-MBK            Doc 2438-5 Filed 06/08/22 Entered 06/08/22 15:52:06   Desc
                                    Exhibit A - 2 Page 1 of 4



                                          Exhibit A-2

             Exemplars of A&I Engagement Letter and Consent to Associate Form




DOCS_DE:237887.4 05471/002
        Case 21-30589-MBK                   Doc 2438-5 Filed 06/08/22 Entered 06/08/22 15:52:06                                           Desc
                                                   Exhibit A - 2 Page 2 of 4




                                                          TALCUM POWDER
                                                      CONTRACT OF EMPLOYMENT

Scope of Representation: I, ______________________________, the undersigned hereinafter referred to as “Client,” hereby hire
Arnold & Itkin LLP, hereinafter referred to as “AI,” as my attorneys, to investigate, prepare, and prosecute any personal injury or
wrongful death claims against the pharmaceutical companies that manufactured and/or marketed Talcum Powder. If Client brings a
claim relating to or arising from a deceased person’s damages or injuries from the use of Talcum Powder, Client agrees to proceed
both individually and as representative of the estate of the deceased person to the extent Client is legally able to do so. Client
understands and agrees that AI will not investigate or pursue any claims for medical malpractice by Client’s doctors.

Contingent Fee: In consideration for the services to be rendered by AI, Client agrees to pay AI XXXXXXXXXX of the gross sum
recovered by settlement or judgment. The “gross sum recovered” means all money or other things of value including any attorney’s
fees awarded by the court.

Expenses: It is agreed that AI shall advance the court costs and other expenses for this claim, including case specific expenses and a
pro rata share of general case expenses. Client understands and acknowledges that case specific expenses are those incurred solely in
the prosecution of Client’s causes of action and for Client’s sole benefit. Client understands, acknowledges, agrees and consents to
paying all of such case specific expenses out of Client’s percentage of the gross sum recovered. Client understands and acknowledges
that general case expenses are those incurred in the prosecution of Client’s causes of action on behalf of Client and other similarly
situated clients of AI in connection with their causes of action. Some examples of general case expenses include, but are not limited
to; retaining experts, costs of investigation, copy costs, mail and delivery costs, expert witness fees and expenses, consulting expert
fees and expenses, retaining and compensating hourly case workers, computerized document management, mock jury and shadow jury
costs, travel and travel related expenses, private air travel through an affiliated entity of AI, meals, telephone and fax expenses, court
reporter fees, filing, jury and service fees, deposition costs, exhibit costs, hiring third parties to negotiate Medicare or Medicaid liens,
and governmental benefit preservation and/or lien issues, preparation of mediated settlement agreements, and computerized legal
research costs. Client acknowledges and understands that each client in the relevant group benefits from the ability to share these
expenses with the larger group rather than incurring these expenses individually. Client understands, acknowledges, agrees, and
consents to paying a pro rata share of such general case expenses out of Client’s percentage of the gross sum recovered. Should AI
elect to fund such expenses by borrowing the funds required, Client agrees to reimburse the full sum of all related interest charges for
case specific expense costs as well as a pro rata share of related interest charges for general case expenses out of Client’s percentage
of the gross settlement proceeds or recovery.

Client hereby agrees that any sums advanced by AI to cover both case specific and general expenses, as described above, shall be
repaid to AI from Client’s percentage of the settlement proceeds or recovery. The XXXXXX Contingent Fee shall be calculated based
upon the total gross recovery and then the expenses will be deducted from Client’s recovery. The repayment of expenses shall be
made to AI before any disbursement to Client and separate from the calculation and payment of attorneys’ fees. Client hereby grants
AI a lien on any proceeds or judgments recovered for Client’s claim as security for the payment of the attorneys’ fees and expenses to
be incurred. Client warrants that he/she is the sole owner of the Claim and agrees not to assign any interest in the claim without the
prior, written consent of AI.

Client acknowledges that AI have made no guarantees about the successful prosecution of Client’s claim. In the event there is no
recovery, Client shall owe AI nothing as a fee or expense.

Client’s Cooperation and Termination: Client shall keep AI advised of her/his current address and telephone number at all times
during representation. The failure to advise AI of this current contact information may result in the dismissal of Client’s claim and/or
the loss of Client’s legal rights forever. Further, Client agrees that the AI may withdraw from representing Client if AI deem
withdrawal warranted for any reason. If AI withdraw from representation, they may do so by notifying Client in writing sent to
Client’s last-known address on file with AI. In the event the AI withdraw, Client will not owe any Attorneys’ fees or expenses.

Place of Performance and Choice of Law: This agreement is to be performed in Texas and Client agrees all questions concerning
the rights and obligations of Client and AI under this agreement shall be resolved in accordance with the then-prevailing law of the
State of Texas, including the Texas Rules of Professional Conduct.




              6009 Memorial Drive • Houston, TX 77007 • Phone 713.222.3800 • Toll Free 866.222.2606 • Fax 713.222.3850 • www.arnolditkin.com
          Case 21-30589-MBK                  Doc 2438-5 Filed 06/08/22 Entered 06/08/22 15:52:06                                           Desc
                                                    Exhibit A - 2 Page 3 of 4




Statute of Limitation Waiver: Legal claims must be brought within a limited period of time or legal rights can be lost forever. The
time period for bringing a legal claim is called the Statute of Limitation. AI will not file or take action on Client’s behalf to comply
with any Statute of Limitation without adequate time for investigation. Therefore, Client understands, agrees, and consents that AI
shall have no responsibility to file a claim or to take any action to comply with any Statute of Limitations expiring within 90 days of
the date this signed contract is received by AI. If a Client’s statute of limitation expires within 90 days of receipt, Client’s claim may
not be filed within the statutory period, and therefore, forever barred.

Settlement of Claims: Client shall have the exclusive right to accept or reject any offers for settlement of the cause of action.
Client understands, acknowledges, and agrees that this claim may be presented, prosecuted, and/or settled as part of a mass action of
other lawsuits in which AI may also represent other persons with claims similar to Client and Client consents to such action. Client
hereby waives any potential conflicts between Client and other clients of AI similarly situated. Client further agrees that AI may
negotiate Client’s claim and other similarly situated claims on an aggregate basis. Client hereby acknowledges that AI have made
no guarantees regarding the successful outcome of this matter and all expressions about the outcome are only opinions.

Settlement of Healthcare Liens: Client understands and acknowledges that prior to the disbursement of any settlement proceeds, AI
may be required to investigate and satisfy any third-party interest healthcare liens such as Medicare, Medicaid and other medical
provider liens.

Power of Attorney: The AI are hereby granted a limited power of attorney so that they may have full authority to prepare, sign, and
file all legal instruments, pleadings, and papers as shall be reasonably necessary to conclude this representation including settlement
and/or reducing to possession any and all monies or other things of value due to Client in connection with the claims as fully as Client
could do so in person. AI are also authorized and empowered to act as Client’s negotiator in any and all settlement negotiations
concerning the subject of this agreement. As part of this power of attorney, Client authorizes AI to require that any settlement check
be made payable jointly to Client and AI and the AI may reimburse themselves for expenses and fees prior to disbursing money to
Client. However, AI will not unreasonably withhold disbursement from Client.

This agreement constitutes the sole and only agreement of the parties and supersedes any prior understandings or written or oral
agreements of the parties. Client understands and acknowledges that the decision to hire AI was made willfully and independently
without outside influence.

Executed on: _______________________________

Accepted by:

Client:
___________________________                                                                  ___________________________
(Signature)                                                                                                                          Arnold & Itkin LLP
___________________________
(Printed Name)
___________________________
(Address 1)
___________________________
(Address 2)
___________________________
(Social Security Number)
___________________________
(Date of Birth)
___________________________
Name of Deceased (if applicable)




               6009 Memorial Drive • Houston, TX 77007 • Phone 713.222.3800 • Toll Free 866.222.2606 • Fax 713.222.3850 • www.arnolditkin.com
Case 21-30589-MBK              Doc 2438-5 Filed 06/08/22 Entered 06/08/22 15:52:06                   Desc
                                      Exhibit A - 2 Page 4 of 4




                            PRIVILEGED ATTORNEY-CLIENT COMMUNICATION
                                   CONSENT TO ASSOCIATE COUNSEL

        ________________________________ (“Client”) has previously executed an Attorney
Client Employment Agreement with ___________________ (hereinafter referred to as “___”).
Client agrees that ___ may enter into a co-counsel agreement with Arnold & Itkin LLP
(hereinafter referred to as “AI”) to prosecute Client’s claims.

          It is further understood that:

          I.         AI and ___ will assume joint responsibility for the representation of Client as
                 “joint responsibility” is defined in Rule 1.04, Texas Disciplinary Rules of Professional
                 Conduct;

          II.        If a recovery is made on behalf of Client, then the total attorneys’ fees will be
                 divided ___% to AI and ___% to ___; and

          III.       This Consent to Associate Counsel does not change any terms in the Attorney-
                 Client Agreement between ___ and Client, but explains the division of responsibility
                 and fees between AI and ___.

       Client’s signature indicates his understanding and consent to the co-counsel
arrangement between AI and ___, and the division of fees to be paid in the event of a
successful recovery.



 Client                                                         Date



 Arnold & Itkin LLP                                             Date




                                                                Date




t 866.222.2606                          6009 Memorial Drive                   info@arnolditkin.com
f 713.222.3850                          Houston, TX 77007                     arnolditkin.com
